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      Fill in this information to identify the case:

                   Pearl Resources LLC
      Debtor name __________________________________________________________________

                                                             Southern District of _________
      United States Bankruptcy Court for the: ______________________               Texas

      Case number (If known):    20-_____-11
                                _________________________
                                                                               (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number, and    Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      email address of creditor      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                        debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
       Allied OFS, LLC
1      c/o Lesa Carter                          Basheer Y. Ghorayeb            professional        contingent,
       BJ Services, LLC                         (214) 543-6433                                     unliquidated,                                         $3,346,349.53
                                                                               services
       11211 FM 2920                            bghorayeb@winston.com                              and disputed
       Tomball, Texas 77375

2    Nabors Drilling Technologies USA, Inc.    Carl Dore, Jr.                                      contingent,
     515 West Greens Rd., Ste. 1000            (281) 829-1555                                      unliquidated,                                          $420,258.10
     Houston, Texas 77067                      cdore@dorelaw.com                                   and disputed


3      RH Trucking LLC                                                                             contingent,
       Ricardo & Adelaida Huitron                                                                  unliquidated,                                          $352,052.50
       3018 S. County Rd. 1200                                                                     and disputed
       Midland, Texas 79706

4      Calvary Energy Services, Inc.          Franklin H. McCallum                                 contingent,
       1400 S. Fairgrounds                    (432) 682-3288                                       unliquidated,                                          $190,864.00
       Midland, Texas 79701                                                                        and disputed


       Von Directional Services, LLC          William R. Sudela
5
                                              (713) 739-7007                                       contingent,
       12074 FM 3083                                                                                                                                      $171,583.44
                                              wsudela@cjmhlaw.com                                  unliquidated,
       Conroe, Texas 77301
                                                                                                   and disputed


6     Transcon Capital, LLC                   Andrew B. Curtis
      P.O. Box 54206                          (806) 319-8520                                        Disputed                                              $122,213.87
      Lubbock, Texas 79453                    andrew@bigbeecurtislaw.com


7     Maverick Oil Tools LLC                  Jason Hamm
                                                                                                   contingent,                                            $107,203.00
      3907 County Rd. 1162 N.                 Hamm French, PLLC
                                                                                                   unliquidated,
      Midland, Texas 79705                    (432) 375-6060
                                                                                                   and disputed


8     Pilot Thomas Logistics, LLC             Duane G. Crocker, P.C.                               contingent,
      777 Main Street, Suite 2000             (361) 574-8898                                       unliquidated,                                            $93,949.17
      Fort Worth, Texas 76102                 dcrocker@duanecrockerlaw.com                         and disputed




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                  Pearl Resources LLC                                                                                 20-_____-11
    Debtor       _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if      Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is         If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,      claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,    total claim amount and deduction for value of
                                                                         services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff

9      Charger Services, LLC                Jad Davis
                                            (432) 687-0011                                        Disputed
       23 W. Industrial Loop                                                                                                                             $86,632.19
       Midland, Texas 79701                 jadavis@dgclaw.com


10     Vaquero Oilfield Services, LLC       Franklin H. McCallum                                 contingent,                                              $33,168.00
       414 Texas Ave., Suite 400 E.         (432) 682-3288                                       unliquidated,
       Midland, Texas 79701                                                                      and disputed


11




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